      Case: 1:20-cv-07760 Document #: 13 Filed: 02/24/21 Page 1 of 1 PageID #:58


                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Dillard v. DePaul University                   Case Number: 2020-cv-07760


An appearance is hereby filed by the undersigned as attorney for:
Sydney Dillard
Attorney name (type or print): Navarrio D. Wilkerson

Firm: Disparti Law Group

Street address: 121 W Wacker Drive

City/State/Zip: Chicago, Illinois 60601

Bar ID Number: 6318242                                     Telephone Number: (312) 506-5511 ext. 336
(See item 3 in instructions)

Email Address: navarrio@dispartilawgroup.com

Are you acting as lead counsel in this case?                                         Yes       ✔ No
Are you acting as local counsel in this case?                                        Yes       ✔ No
Are you a member of the court’s trial bar?                                           Yes       ✔ No
If this case reaches trial, will you act as the trial attorney?                      Yes       ✔ No
If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel, are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on February 24, 2021

Attorney signature:            S/ Navarrio D. Wilkersons
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
